      Case 1:25-cv-00013-TWP-CSW                  Document 2          Filed 01/03/25      Page 1 of 1 PageID #: 93
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Southern District
                                              __________  District of
                                                                   of Indiana
                                                                      __________


      Brenda Taylor, on behalf of Plaintiff and a class        )
                             Plaintiff                         )
                                v.                             )       Case No.    1:25-cv-00013
                 Crane Lending, LLC, et al.                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Brenda Taylor                                                                                      .


Date:          01/03/2025                                                              s/ Daniel A. Edelman
                                                                                         Attorney’s signature


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